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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

                                  Delaware
 ____________________ District of _________________
                                       (State)
                         19-
 Case number (If known): _________________________          7
                                                   Chapter _____                                                                         Check if this is an
                                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




1.   Debtor’s name                          Arik Air USA LLC
                                           ______________________________________________________________________________________________________




2.   All other names debtor used           ______________________________________________________________________________________________________
     in the last 8 years                   ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
     Include any assumed names,
                                           ______________________________________________________________________________________________________
     trade names, and doing business
     as names                              ______________________________________________________________________________________________________




3.   Debtor’s federal Employer             ___ ___ – ___ ___ ___ ___ ___ ___ ___
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business

                                           ______________________________________________               _______________________________________________
                                           Number     Street                                            Number     Street

                                            P.O. Box 91
                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                            West Dover                 VT      05356
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                            USA
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.   Debtor’s website (URL)                ____________________________________________________________________________________________________


6.   Type of debtor
                                           X Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           
                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


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Debtor          Arik Air USA LLC
                _______________________________________________________                                               19-
                                                                                               Case number (if known)_____________________________________
                Name



                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         X None of the above
                                         

                                         B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             4 ___
                                            ___ 8 ___
                                                   8 ___
                                                      1

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
      debtor filing?
                                         X Chapter 7
                                         
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                        Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                             4/01/19 and every 3 years after that).
                                                         
                                                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                            A plan is being filed with this petition.

                                                            Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).

                                                            The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases        X No
                                         
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a
      business partner or an             ✘ Yes.
                                                         Arik Air International USA LLC
                                                   Debtor _____________________________________________              Affiliate
                                                                                                        Relationship _________________________
      affiliate of the debtor?                               Delaware
                                                   District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________


     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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Debtor        Arik Air USA LLC
              _______________________________________________________                                              19-
                                                                                            Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this    Check all that apply:
      district?
                                       X Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                       
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                        A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have      ✘ No
                                       
      possession of any real            Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.

                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                    attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                    assets or other options).

                                                   Other _______________________________________________________________________________



                                                Where is the property?_____________________________________________________________________
                                                                          Number          Street

                                                                          ____________________________________________________________________

                                                                          _______________________________________         _______     ________________
                                                                          City                                            State       ZIP Code


                                                Is the property insured?
                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________

                                                         Contact name     ____________________________________________________________________

                                                         Phone            ________________________________




            Statistical and administrative information



13.   Debtor’s estimation of           Check one:
      available funds                   Funds will be available for distribution to unsecured creditors.
                                       ✔ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.
                                       

                                       X 1-49
                                                                        1,000-5,000                              25,001-50,000
14.   Estimated number of               50-99                           5,001-10,000                             50,001-100,000
      creditors
                                        100-199                         10,001-25,000                            More than 100,000
                                        200-999

                                       ✘ $0-$50,000
                                                                        $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                  $50,001-$100,000                $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                        $100,001-$500,000               $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                        $500,001-$1 million             $100,000,001-$500 million                More than $50 billion



  Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
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Debtor         Arik Air USA LLC
               _______________________________________________________                                                19-
                                                                                               Case number (if known)_____________________________________
               Name



                                         $0-$50,000                        X $1,000,001-$10 million
                                                                                                                      $500,000,001-$1 billion
16.   Estimated liabilities              $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                         $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                         $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


             Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                            petition.
      debtor
                                           I have been authorized to file this petition on behalf of the debtor.

                                           I have examined the information in this petition and have a reasonable belief that the information is true and
                                            correct.


                                        I declare under penalty of perjury that the foregoing is true and correct.

                                                        12/09/2019
                                            Executed on _________________
                                                        MM / DD / YYYY


                                        8   /s/ Robert Brunner
                                            _____________________________________________              Robert Brunner
                                                                                                       _______________________________________________
                                            Signature of authorized representative of debtor           Printed name

                                                  Authorized Signatory
                                            Title _________________________________________




18.   Signature of attorney
                                        8   /s/ Morgan L. Patterson
                                            _____________________________________________              Date         12/09/2019
                                                                                                                    _________________
                                            Signature of attorney for debtor                                        MM   / DD / YYYY



                                            Morgan L. Patterson
                                            _________________________________________________________________________________________________
                                            Printed name
                                            Womble    Bond Dickinson (US) LLP
                                            _________________________________________________________________________________________________
                                            Firm name
                                            1313 North Market Street, Suite 1200
                                            _________________________________________________________________________________________________
                                            Number      Street

                                            Wilmington
                                            ____________________________________________________            DE
                                                                                                           ____________  19801
                                                                                                                        ______________________________
                                            City                                                           State        ZIP Code

                                            (302) 252-4326
                                            ____________________________________                            morgan.patterson@wbd-us.com
                                                                                                           __________________________________________
                                            Contact phone                                                  Email address



                                            5388
                                            ______________________________________________________  DE
                                                                                                   ____________
                                            Bar number                                             State




  Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
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                              OFFICER’S CERTIFICATE OF
                                  ARIK AIR USA LLC

                                      December 9, 2019

      The undersigned, as a duly elected, qualified, and acting Officer of Arik Air USA LLC, a
Delaware Limited Liability Company (the “Company”), does hereby certify on behalf of the
Company, and not in any individual capacity, that:

               1.     Attached hereto as Exhibit A is a true, correct, and complete copy of the
                      resolutions duly adopted by the governing authority of the Company.

       IN WITNESS WHEREOF, I have hereunto signed my name as of the date first written
above, solely in my capacity as an Officer of Arik Air USA LLC and not in my individual
capacity.


                                             /s/ Robert Brunner
                                             Name: Robert Brunner
                                             Title: Authorized Signatory – Arik Air USA LLC




WBD (US) 45330576v1
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                                     Exhibit A

                                    Resolutions




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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                         )
    In re:                                                     Chapter 7
                                                         )
                               1                         )     Case No. 19-_______(__)
    ARIK AIR USA LLC,
                                                         )
                               Debtor.                   )
                                                         )

                                DEBTOR’S STATEMENT OF
                 CORPORATE OWNERSHIP PURSUANT TO RULES 1007(a)(1)
             AND 7007.1 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

                     Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy

Procedure, the above captioned debtor (the “Debtor”) states that the following is a list of all

corporations, other than governmental units, that directly or indirectly own 10% or more of any

class of interests in the Debtor:

                               Name                                  Approximate Percentage
                                                                        of Interest Held

                         Arik Air Limited                                        100%




1
             The address for the Debtor is c/o Robert Brunner, P.O. Box 91, West Dover, Vermont 05356.
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CREDITOR MATRIX

ABM Janitorial
JFK International Airport N.
N. Boundry Rd.,
Bldg. 79, Room 209
Jamaica, NY 11430

Airport Terminal Services
940 Westport Plaza, Suite 101
St. Louis, MO 63146

ARC
3000 Wilson Boulevard, Suite 300
Arlington, VA 22201

Bank of America Corporation
100 N. Tryon Street
Charlotte, NC 28255

Beckman and Beckman

Bevmax Office Centers
880 Third Avenue
New York, NY 10022

Bex LLC

Clarion Hotel
10750 Columbia Pike
Silver Spring, MD 20901

Contran Associates Inc.
2040 Utica Ave.
Brooklyn, NY 11234

CT Corporation
28 Liberty Street, Floor 42
New York, NY 10005

Delaware Secretary of State
Division of Revenue
820 N. French Street
Wilmington, DE 19801

Destiny Limo
866 E.18th Street
Brooklyn, NY 11230
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Dunbar Armored Inc.
50 Schilling Road
Hunt Valley, MD 21031

Elite Airline Linen of New York, Inc
1107 Redfern Avenue
Far Rockaway, NY 11 691

Federal Express Corporation
942 South Shady Grove Road
Memphis, TN 38120

Global Security
825 E. Gate Blvd.
Garden City, NY 11530

Golden Touch Transporation of NY, Inc.
45‐02 Ditmars Blvd., Suite 1019
Astoria NY 11105

Hilton ‐ JFK
144‐02 135 Avenue
Jamaica, NY 11436

Holiday Inn Express
3 Ravinia Drive, Suite 100
Atlanta, GA 30346

Hotel DePoint
20‐07 127th Street
Flushing, NY 11356

Kaplan, Massamillo & Andrews LLC
70 E. 55th Street #25
New York NY 10022

Lamara‐Nwoko, Maryann
1791 Prospect Avenue #3B
Bronx 10457

Lawrence Enterprises Partnership
166‐07 Baisley Blvd.
Jamaica, NY 11434

LSG Sky Chefs Inc.
12 S. Service Road
Jamaica, NY 11430
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New York State
Department of Taxation and Finance
Harriman Campus Road
Albany, NY 12226

NY Fuel Distributors LLC
235 Mamaroneck Ave.
White Plains, NY 10605

Owotomo, Olukunie
237 Shirley Avenue
Staten Island, NY 10312

PAX Assist
149 Beach 73rd Street
Arverne, NY 11692

Port Authority
of New York and New Jersey
4 World Trade Center
150 Greenwich St.
New York NY 10007

RGTS, Inc.
1290 6th Avenue
New York NY 10104

Road Flex Courier LLC
2016 Linden Blvd., Suite 24
Elmont, NY 11003

Rockville Center Inn
415 Ocean Avenue
Lynbrook, NY 11563

SSP America, Inc.
20408 Bashan Drive, Suite 300
Ashburn VA 20147

Swiss Lounge
Terminal 4, Kennedy International Airport
Jamaica NY 11430

Triange Services, Inc.
1 Central Terminal Area
Jamiaca, NY 14430

Ugbode, Felix
333 Hopkinson Avenue
Brooklyn, NY 11233
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Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 19101‐7346

Office of the General Counsel
MS 0485
Department of Homeland Security
2707 Martin Luther King Jr Ave SE
Washington, DC 20528‐0525

The Department of the Treasury
1500 Pennsylvania Avenue, NW
Washington, DC 20222

The Department of the Treasury
1 JFK Airport
Jamaica, NY 11430

Transportation Security Administration
601 12th Street S.
Arlington, VA 22202
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